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 7                         UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8

 9 EVANSTON INSURANCE COMPANY, an
   Illinois Corporation,                No. 2:24-cv-00207-KKE
10
                             Plaintiff, NOTICE OF DISMISSAL OF ACTION
11
                                        PURSUANT TO FED. R. CIV. P.
12                       vs.            41(a)(1)(A)(i)

13 HARRIS SLIWOSKI LLP, a Limited Liability          NOTE ON MOTION CALENDAR:
14 Partnership, f/k/a HARRIS BRICKEN                 May 10, 2024
   SLIWOSKI LLP; AND JOHN B.
15 MCDONALD,

16
                                       Defendants.
17
            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Evanston Insurance Company
18
     hereby DISMISSES this lawsuit. This dismissal is without prejudice.
19

20          DATED this 10th day of May, 2024.

21
                                          s/ Lisa C. Neal
22                                       Lisa C. Neal, WSBA #25686
                                         Sarah L. Eversole, WSBA #36335
23
                                         WILSON SMITH COCHRAN DICKERSON
24                                       1000 2nd Avenue, Suite 2050
                                         Seattle, WA 98104
25                                       Phone: (206) 623-4100
                                         l.neal@wscd.com | eversole@wscd.com
26                                       Attorneys for Plaintiff


      NOTICE OF DISMISSAL – 1                                                1000 SECOND AVENUE, SUITE 2050
                                                                               SEATTLE, WASHINGTON 98104
                                                                                TELEPHONE: (206) 623-4100
                                                                                   FAX: (206) 623-9273
          Case 2:24-cv-00207-KKE     Document 19       Filed 05/10/24       Page 2 of 3



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 3                                 s/ Michael F. Perlis (per electronic authorization)
                                   Michael F. Perlis, SBN #95992
 4                                 Admitted Pro Hac Vice
                                   KAUFMAN BORGEEST & RYAN LLP
 5                                 21700 Oxnard Street - Suite 1450
                                   Woodland Hills, CA 91367
 6
                                   Phone: (818) 880-0992
 7                                 mperlis@kbrlaw.com
                                   Attorneys for Plaintiff
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                                                                               FAX: (206) 623-9273
            Case 2:24-cv-00207-KKE           Document 19          Filed 05/10/24      Page 3 of 3



 1                         CERTIFICATE OF ELECTRONIC SERVICE
 2
           I hereby certify that on the date set forth below, I electronically filed the foregoing with
 3 the Clerk  of the Court using the CM/ECF system, which will send notification of such filing to
   those attorneys of record registered on the CM/ECF system. All other parties (if any) shall be
 4 served in accordance with the Federal Rules of Civil Procedure.

 5
            DATED this 10th day of May, 2024.
 6

 7                                                 s/ Traci Jay
                                                   Traci Jay
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